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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

6694 Dawson Blvd, LLC, Individually      )
and on Behalf of a Class of Similarly    )
Situated Persons,                        )     CIVIL ACTION FILE
                                         )     NO. _____________
       Plaintiff,                        )
                                         )
vs.                                      )
                                         )     CLASS ACTION COMPLAINT
Oppenheimer & Co., Inc., James           )     JURY TRIAL DEMANDED
Wallace Woods, Michael J. Mooney,        )
Britt Wright, William V. Conn, Jr.,      )
Conn & Co. Tax Practice, LLC, Conn       )
& Company Consulting, LLC, and           )
Kathleen Lloyd,                          )
                                         )
       Defendants.                       )


                                COMPLAINT

      Plaintiff(s), by and through their undersigned attorneys, bring this action

individually and on behalf of all other persons similarly situated, and allege as

follows:

                     BACKGROUND TO THE DISPUTE

      Plaintiff and the class are victims of a massive $110,000,000 Ponzi scheme

that was conceived, founded, and operated by investment advisers in Defendant

Oppenheimer & Co., Inc.’s (“Oppenheimer”) Atlanta, Georgia branch office located
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at 3414 Peachtree Road, Atlanta, Georgia, 30326. The architect and mastermind of

the Ponzi scheme, John J. Woods (“Woods”), was an investment adviser at

Oppenheimer at all times from January 2003 through December 31, 2016. In 2008,

while registered as an investment adviser at Oppenheimer, Woods founded “Horizon

Private Equity, III, LLC” and began illegally marketing the unapproved “Horizon

Private Equity” security to Oppenheimer’s customers as well as the investing public.

      Woods made no effort to hide his scheme from Oppenheimer’s management

-- going so far as to rent office space for his scheme next door to Oppenheimer’s

branch office at 3414 Peachtree Road, Atlanta, Georgia, 30326. From 2008 through

December 31, 2016, Oppenheimer’s management actively aided Woods, his brother

James Wallace Woods (“Jim Woods”), and his cousin Michael J. Mooney

(“Mooney”) (all of whom were investment advisers in Oppenheimer’s Atlanta

branch office) in funneling investor money into the Horizon Private Equity Ponzi

scheme. In December 2016, having full knowledge that Woods was operating a

secret, illegal “private equity fund,” Oppenheimer took steps to conceal the Ponzi

scheme from the regulators and investing public by permitting Woods to quietly

resign from Oppenheimer without reporting the wrongdoing to regulators and the

investing public, as required by law. For nearly five more years, the Horizon Private

Equity Ponzi scheme, which was conceived, founded, and operated by employees in


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Oppenheimer’s Atlanta, Georgia branch office, continued raising money from

unsuspecting investors through Southport Capital, a Registered Investment Advisory

firm with offices across the United States.

      On August 20, 2021, the Securities & Exchange Commission (“SEC”)

brought a civil action against Woods, Livingston Group Asset Management Co.,

d/b/a Southport Capital (“Southport Capital”), and Horizon Private Equity, III, LLC

(“HPE III”) for violations of federal securities fraud and moved for emergency relief

including asset freeze, appointment of receivership, and a full accounting. The

SEC’s Complaint, based on sworn affidavits from FBI agents and insiders, a review

of bank statements, and interviews with investors in the Ponzi scheme, alleges that

“John Woods has been running a massive Ponzi scheme for over a decade” and that

“[a]s of the end of July 2021, investors in the Ponzi scheme were owed over

$110,000,000 in principal.”

      The SEC further alleged that “many of the victims are elderly retirees who

were preyed upon” by Woods and other advisers, who falsely and fraudulently

represented to them that “they would receive returns of 6-7% interest, guaranteed

for two to three years” and that their money would be invested in “government

bonds, stocks, or small real estate projects.” In reality, the Ponzi scheme had not

made any significant profits from legitimate investments and “instead a very large


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percentage of purported ‘returns’ to earlier investors were simply paid out of new

investor money.” The SEC analyzed in detail Horizon Private Equity’s investments

and transactions from January 1, 2019 to the present and concluded that “as of the

end of July 2021, Horizon had liquid assets worth less than $16 million” and “owed

investors more than $110 million in principal.”

      Woods was not the only adviser improperly advising customers to invest in

his Horizon Private Equity Ponzi scheme. Throughout the entirety of the decade-

long Ponzi scheme, Woods relied on investment advisers at Southport Capital as

Horizon’s “sales team.”      Defendants Jim Woods, Mooney, and Britt Wright

(“Wright”) (the “Adviser Defendants”), as well as other advisers to be identified,

were paid huge commissions in return for placing their customers in this

unapproved, unregistered scheme. Their selling of the Horizon Private Equity Ponzi

scheme violated a host of securities laws, constituted wire and mail fraud, and

constituted a breach of the fiduciary duties owed to all of their customers.

      The success of this decade-long Ponzi scheme also required the active

participation of other third-party professionals, in addition to Oppenheimer. Woods

utilized outside accountants, Defendants William V. Conn, Jr. (“Conn”), Conn &

Co. Tax Practice, LLC (“Conn Tax”), Conn & Company Consulting, LLC (“Conn

Consulting”), and Kathleen Lloyd (“Lloyd”) (the “Accounting Defendants”), to hide


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his involvement in Horizon Private Equity from the SEC.             The Accounting

Defendants authorized Woods to utilize their names as officers and registered agents

of the various corporate entities required to operate the Horizon Private Equity Ponzi

scheme. The SEC alleges that Conn’s involvement in Horizon Private Equity

“appears to have been a sham to avoid detection of Woods’s undisclosed outside

business activities...” The Accounting Defendants also assisted Woods and other

Southport Capital employees with the management and operations of the Horizon

Private Equity Ponzi scheme by preparing IRS Form 1099-INTs for Horizon Private

Equity investors, monthly principal and interest reconciliations, monthly distribution

of interest payments, and federal and state tax returns and K-1s for the Horizon

Private Equity Ponzi scheme entities throughout the time period.

      The allegations herein are taken from original documents in possession of

Plaintiffs, as well as sworn testimony and documentation attached to and made

public in filings submitted in the proceeding styled Securities and Exchange

Commission v. John J. Woods, et al., Case No. 1:21-cv-03413-SDG, in the United

States District Court for the Northern District of Georgia.

                   PARTIES, JURISDICTION AND VENUE

                                          1.

      Plaintiff 6694 Dawson Blvd, LLC is a Georgia limited liability company. Its


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members are residents of the State of Georgia.

                                        2.

      Defendant Oppenheimer & Co., Inc., which describes itself as “a leading

global full-service brokerage and investment bank,” operates from a regional branch

office at 3414 Peachtree Road, Atlanta, Georgia, 30326.        Oppenheimer is a

subsidiary of Oppenheimer Holdings, Inc., a publicly traded company listed on the

New York Stock Exchange (NYSE “OPY”).

                                        3.

      Defendant James Wallace Woods is a resident of Marietta, Cobb County,

Georgia.

                                        4.

      Defendant Michael J. Mooney is a resident of Woodstock, Cherokee County,

Georgia.

                                        5.

      Defendant Britt Wright is a resident of Pfafftown, Forsyth County, North

Carolina.

                                        6.

      Defendant William V. Conn, Jr. is a resident of Sandy Springs, Fulton County,

Georgia.


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                                         7.

      Defendant Conn & Co. Tax Practice, LLC is a Georgia limited liability

company with its principal place of business at 800 Mt. Vernon Highway, Suite 380,

Atlanta, Fulton County, Georgia.

                                         8.

      Defendant Conn & Company Consulting, LLC is a Georgia limited liability

company with its principal place of business at 800 Mt. Vernon Highway, Suite 380,

Atlanta, Fulton County, Georgia.

                                         9.

      Defendant Kathleen Lloyd is a resident of Cumming, Forsyth County,

Georgia.

                                         10.

      This Court has original jurisdiction over this class action under 28 U.S.C. §

1332(d)(2)(a), (d)(5)(b), (d)(6) because (i) members of the class of plaintiffs are

citizens of States different than the Defendants; (ii) there are 100 or more class

members; and (iii) there is an aggregate amount in controversy of at least

$5,000,000, exclusive of interest and costs.




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                                          11.

       Venue is proper in this Court because Defendants conduct business in this

District and a substantial part of the events giving rise to the claim occurred in this

District.

                        CLASS ACTION ALLEGATIONS

                                          12.

       This action is brought and may properly proceed as a class action, pursuant to

the provisions of Fed. R. Civ. P. 23.

                                          13.

       Plaintiff brings this case on behalf of a class composed of all investors in

Horizon Private Equity from 2008 through present, excluding Defendants and

Horizon’s related parties. As to Oppenheimer, the class is composed of all investors

in Horizon Private Equity from 2008 through present, excluding Defendants and

Horizon’s related parties, that are not subject to mandatory FINRA arbitration.

                                          14.

       This action is properly maintainable as a class action. Publicly filed records

indicate that the class consists of at least 400 individuals and/or entities who invested

in Horizon, minus the Defendants and related parties. Class members are so

numerous that their individual joinder is impracticable. A class action is superior to


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other available means for a fair and efficient adjudication of this controversy.

Absent a class action, the costs and risks of litigating individual claims against

Defendants would ensure that, as a practical matter, most or all class members will

be unable to enforce their contractual and other rights.

                                         15.

      This action does not present difficulties in management that would preclude

class treatment.    The Defendants’ breaches of duties, acts constituting the

procurement of breach of duties, negligence, and acts giving rise to violations of

Georgia RICO are identical for all class members. Further, there is no particularized

knowledge or other elements that would require individual testimony from all of the

class members.

                                         16.

      Rule 23(a)(2) and Rule 23(b)(3) are both satisfied because there are questions

of law and fact which are common to the class and which predominate over questions

affecting any individual class member.         The common questions include the

following:

      (a)    whether the Defendants’ actions procured breaches of fiduciary duty by

             Woods and other investment advisers involved in the sale of Horizon

             Private Equity investments to the class;


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      (b)   whether the Defendants’ actions constitute negligence and/or breach of

            a duty to the class; and

      (c)   whether the Defendants’ acts give rise to liability under the Georgia

            RICO statute; and, if so, whether the class members have suffered

            injury and damages by reason of Defendants’ breaches.

                                        17.

      The questions of law and fact that are common to the class, including those

set forth above, predominate over any questions affecting only individual members.

Plaintiff’s claims and the claims of members of the Class all derive from a common

nucleus of operative fact. The common questions include the following:

      (a)   whether the Defendants’ actions procured breaches of fiduciary duty by

            Woods and other investment advisers involved in the sale of Horizon

            Private Equity investments to the class;

      (b)   whether the Defendants’ actions constitute negligence and/or breach of

            a duty to the class;

      (c)   whether the Defendants’ acts give rise to liability under the Georgia

            RICO statute; and, if so,

      (d)   whether the class members have suffered injury and damages by reason

            of Defendants’ breaches.


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                                           18.

       The named plaintiff will fairly and adequately protect and represent the

interests of the class because it has suffered injuries typical of those suffered by other

class members, is committed to obtaining just relief for all class members, and has

retained counsel experienced in class action litigation to represent the class.

                                           19.

       Furthermore, the prosecution of separate actions by individual members of the

class would create the risk of inconsistent or varying adjudications with respect to

individual members of the class which would establish incompatible standards of

conduct for Defendants, or adjudications with respect to individual members of the

class which would as a practical matter be dispositive of the interests of the other

members not parties to the adjudications or substantially impair or impede their

ability to protect their interests.

                                           20.

       Individual litigation of the legal and factual issues raised by the conduct of

Defendants would increase delay and expense to all parties and to the court system.

The class action device presents far fewer management difficulties and provides the

benefits of a single, uniform adjudication, economies of scale and comprehensive

supervision by a single court. Given the identical nature of class members’ claims,


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and the absence of material differences in the state and common laws upon which

class members’ claims are based, a class will be easily managed by the Court and

the parties.

               THE HORIZON PRIVATE EQUITY PONZI SCHEME

                                       21.

       Plaintiff and the class members are victims of a massive $110,000,000 Ponzi

scheme that was conceived, founded, and operated by investment advisers in

Oppenheimer’s Atlanta, Georgia branch office located at 3414 Peachtree Road,

Atlanta, Georgia, 30326.

                                       22.

       The architect and mastermind of the Ponzi scheme, Woods, was registered as

an investment adviser at Oppenheimer at all times from January 2003 through

December 31, 2016.

                                       23.

       In 2008, while serving as an investment adviser at Oppenheimer, Woods

founded “Horizon Private Equity, III, LLC” and began marketing “Horizon Private

Equity” to his Oppenheimer customers and the investing public.

                                       24.

       Woods made no effort to hide his involvement in the Horizon Private Equity


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Ponzi scheme from Oppenheimer’s management -- going so far as to rent office

space for his “selling away” scheme next door to Oppenheimer’s branch office at

3414 Peachtree Road, Atlanta, Georgia, 30326. Woods and other Horizon Private

Equity fundraisers walked freely between the two offices and mingled on a daily

basis with the Oppenheimer branch manager charged with supervising Woods.

                                         25.

      From 2008 through December 31, 2016, Oppenheimer’s management turned

a blind eye while Woods, his brother, Jim Woods, and his cousin, Mooney (all of

whom were investment advisers in Oppenheimer’s Atlanta branch office) funneled

investor money into the Horizon Private Equity Ponzi scheme while working from

Oppenheimer’s Atlanta branch office.

                                         26.

      In December 2016, with full knowledge that Woods was operating a secret,

illegal “private equity fund,” Oppenheimer actively concealed the Ponzi scheme

from the regulators and investing public by permitting Woods to quietly resign from

Oppenheimer without reporting the wrongdoing to regulators and the investing

public, as required by law. Oppenheimer did so to protect itself from the substantial

liability it knew it would face if it disclosed the selling away scheme.




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                                        27.

      For nearly five more years, the Horizon Private Equity Ponzi scheme, which

was conceived, founded, and operated by employees in Oppenheimer’s Atlanta,

Georgia branch office, continued raising money from unsuspecting investors.

                                        28.

      On August 20, 2021, the United States Securities & Exchange Commission

(“SEC”) brought a civil action against Woods, Southport Capital, and HPE III for

violations of federal securities fraud and moved for emergency relief including an

asset freeze, appointment of receivership, and a full accounting.

                                        29.

      The SEC’s Complaint, based on sworn affidavits from FBI agents and

insiders, a review of bank statements, and interviews with investors in the Ponzi

scheme, alleges that “John Woods has been running a massive Ponzi scheme for

over a decade” and that “[a]s of the end of July 2021, investors in the Ponzi scheme

were owed over $110,000,000 in principal.”

                                        30.

      The SEC further alleged that “many of the victims are elderly retirees who

were preyed upon” by Woods and other advisers, who falsely and fraudulently

represented to them that “they would receive returns of 6-7% interest, guaranteed


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for two to three years” and that their money would be invested in “government

bonds, stocks, or small real estate projects.” In reality, the Ponzi scheme had not

made any significant profits from legitimate investments and “instead a very large

percentage of purported ‘returns’ to earlier investors were simply paid out of new

investor money.”

                                        31.

      The SEC analyzed in detail Horizon Private Equity’s investments and

transactions from January 1, 2019 to the present and concluded that “as of the end

of July 2021, Horizon had liquid assets worth less than $16 million” and “owed

investors more than $110 million in principal.”

                  PLAINTIFF’S INVESTMENT IN
           THE HORIZON PRIVATE EQUITY PONZI SCHEME

                                        32.

      Plaintiff 6694 Dawson Blvd, LLC is an entity owned by Mike Hall. On or

about June 1, 2019, Mike Hall invested $200,000 in “Horizon Private Equity”

through 6694 Dawson Blvd, LLC.

                                        33.

      As with all the other class members, Hall was assured by Woods that the

investment was guaranteed, that he would be paid a steady rate of interest, and that

he could redeem his investment at any time with notice.

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                OPPENHEIMER’S INVOLVEMENT IN
           THE HORIZON PRIVATE EQUITY PONZI SCHEME

                                         34.

      Oppenheimer knew that Woods was involved in the Horizon Private Equity

Ponzi scheme and took no effort to stop him. To the contrary, Oppenheimer took

active steps to conceal his wrongdoing from regulators and investors and ensured

the survival of the Horizon Private Equity Ponzi scheme.

                                         35.

      Securities firms, including Oppenheimer, operate under a duty to reasonably

supervise their advisers so as to, among other things, (1) prevent and detect “selling

away schemes” (i.e., the sale of securities not approved for sale by the firm); (2)

prevent and detect the use of unapproved and unmonitored email accounts; (3) detect

and supervise any undisclosed outside business activities in which its advisers are

involved; (4) detect and prevent their advisers from committing fraud; (5) supervise

and monitor transfers of investor money to third parties; and (6) truthfully and

accurately report the reasons for any termination or resignation of its advisers on

FINRA Form U5.

                                         36.

      Oppenheimer is required to devote substantial resources dedicated to

compliance and supervisory systems and personnel, whose job is to identify potential

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red flags and respond to them, based on their review of public databases, regular

audits, reviews of all correspondence including their employees’ emails.

                                        37.

      Oppenheimer facilitated the Horizon Private Equity Ponzi scheme by taking

the following actions and/or failing to take the following actions described below:

   • From 2008-December 2016, Oppenheimer failed to review and identify
     various outside business activities which were easily discoverable from a
     review of Georgia corporations which can be searched on the Secretary of
     State’s website. For instance, Woods incorporated Horizon Private Equity,
     LLC as a Georgia entity on September 20, 2007. The initial filing lists Woods
     as the company’s initial Registered Agent. Woods was identified as the
     company’s Registered Agent in the company’s 2007 and 2008 annual
     registrations.

   • On or about September 2008, the Probascos family sold Southport Capital.
     Woods was quoted in an article that ran in the “Chattanoogan.com” on
     September 28, 2008 entitled “John Woods Acquires Southport Capital from
     Probascos.” The article, which ran while Woods was a broker at
     Oppenheimer, read “John Woods, businessman, philanthropist and children’s
     sports development enthusiast, has acquired Southport Capital” from the
     Probascos family. The article noted that “Jim Woods, brother of John Woods,
     will be the chief investment strategist for Southport Capital.” There is no
     indication that Oppenheimer took any steps to supervise the activities of
     Southport Capital, an investment advisory they knew to be owned by one of
     their own advisers.

   • In or around 2007, Oppenheimer became aware that investors had accused
     Woods of fraud in connection with undisclosed outside business activities --
     while he was registered as an investment adviser at Oppenheimer. The lawsuit
     detailed not only that Woods ran a web of outside businesses but that he was
     heavily indebted in connection with the failed ventures -- a huge red flag for
     an investment adviser charged with safeguarding investor money. The
     publicly available lawsuit, styled Lisa and Harry Walsh v. John Woods, Sports


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   Science CH, Inc., Honeycutt Sports LLC, Sports Science Cool Springs, LLC
   and E Sports LLC, Case No. 2007-cv-135987, Superior Court of Fulton
   County, Georgia, referenced Woods’ web of companies in the fitness industry
   as well as the existence of a $6,000,000 loan “personal to John Woods” used
   to purchase one of the companies. The allegations against Woods included,
   for instance, “that Defendant Woods promised them a 12% return on their
   investment, overstated the financials of the companies before they invested,
   and misrepresented the financials of Honeycutt” and moved investor money
   into his personal bank accounts.

• In March 2015, another lawsuit, styled Kenneth Himmler v. Livingston Group
  Asset Management, Inc. d/b/a Southport Capital, Inc., Horizon Private
  Equity, LLC, James Wallace Woods, John J. Woods, Michael Mooney, and
  John Does 1 through 10, Case No. 15-cv-00497, In the United States District
  Court for the District of Nevada, was filed against Woods while Woods was
  still working as an investment adviser in Oppenheimer’s Atlanta branch
  office. The Himmler lawsuit expressly detailed Woods’ personal involvement
  in the Horizon Private Equity Ponzi scheme. The lawsuit, in which Horizon
  Private Equity and Woods were named, alleged among other things, that:
  “Plaintiff is informed and believes that “HPE [Horizon Private Equity]” has a
  controlling interest in Southport”; “Plaintiff is informed and believes that
  [Michael] Mooney [who worked at Southport then and now] is Chairman of
  the Board of Directors for Horizon Private Equity”; “Plaintiff is informed and
  believes that Jim Woods, John Woods, and Michael Mooney control both
  Southport and HPE and used them as their alter egos or mere
  instrumentalities”; that in early 2014, Plaintiff entered into negotiations with
  Woods and Mooney resulting in the sale of his financial planning practice to
  Horizon Private Equity; and that he sold his financial planning practice to
  Horizon Private Equity.

   Emails attached to the Complaint, which were publicly available at the time,
   show communications between Woods and the plaintiff discussing the terms
   of this deal whereby Horizon Private Equity would purchase his financial
   planning book of business on behalf of Southport Capital. Woods, who was
   registered with Oppenheimer at the time, was utilizing a private email address
   “johnwoods@mindspring.com” for these communications. Oppenheimer
   would have detected and stopped the fraud in 2015 had they taken steps to



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   review the private email account used by Woods publicly identified in the
   Himmler lawsuit.

• Woods leased the office space on the same floor directly adjacent to
  Oppenheimer’s Atlanta branch office in the Monarch Plaza tower for
  Southport Capital’s Atlanta branch office through which he and others sold
  interests in Horizon Private Equity. This allowed Woods to physically move
  between Oppenheimer and his selling away scheme during Oppenheimer
  business hours. There does not appear to have been any attempt to hide this
  fact. During the time period that they shared offices, the doors to the left had
  Oppenheimer’s name and logo on the door. The doors to the right had the
  Southport Capital name and its familiar lighthouse logo on the door.

   During trading hours while registered at Oppenheimer, Woods would
   frequently walk back and forth between the Oppenheimer and Southport
   Capital offices. This practice, which took place for several years before
   Southport Capital moved its office, was well known to all employees in the
   office, including the Oppenheimer Atlanta branch manager at the time,
   William Atkinson Lobb, II (CRD #848408).

   Jim Woods wasn’t the only Oppenheimer broker to move “next door” to
   Horizon/Southport Capital. In 2010, Mooney, who is related to Woods and
   Jim Woods and worked with the Woods at Oppenheimer, left Oppenheimer
   to join Southport Capital. Mooney is still registered as an Investment Advisor
   Representative at Southport Capital. His Form ADV states that he “served as
   a third-party solicitor for the Horizon Private Equity funds from 2009 through
   the end of 2016.”

• Woods made investor presentations in the Oppenheimer Atlanta branch office
  to investors using presentations on Oppenheimer letterhead to convey the
  impression that the Horizon Private Equity Ponzi scheme was an investment
  offered through Oppenheimer.

• From 2008-present, Oppenheimer facilitated the transfer of millions of dollars
  in customer funds to Horizon Private Equity. Oppenheimer completely failed
  in its duty to monitor and supervise liquidations of client investments and
  subsequent transfers to Horizon Private Equity.




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   • On or about December 2016, after learning about Woods’ involvement in
     various undisclosed business activities, including the Horizon Private Equity
     Ponzi scheme, Oppenheimer permitted Woods to resign from their firm. Even
     so, Oppenheimer had a duty to complete the Form U5 and notify FINRA and
     the investing public that he had been permitted to resign after they detected
     his involvement in wrongdoing. Instead, Oppenheimer intentionally hid the
     fact that they had detected the wrongdoing. From 2017-present, Oppenheimer
     failed to amend the Form U5 to accurately state the reasons for his resignation.
     From 2017-present, Woods’ public “Investment Adviser Public Disclosure”
     made it appear to the investing public that Woods resigned from Oppenheimer
     on good terms and that Oppenheimer had not discovered any wrongdoing
     prior to his resignation.

                                         38.

      From 2008-2014, when this scheme was in place, Oppenheimer’s President

was Robert Okin.

                                         39.

      Robert Okin was the Head of Oppenheimer’s “Private Client Division” during

this relevant time period and was responsible for supervising Oppenheimer’s

advisers.

                                         40.

      Okin was barred from the securities industry by the SEC for failing to

supervise other Oppenheimer brokers who were perpetrating fraud on other

Oppenheimer customers in connection with the sale of 2.5 billion penny stock shares

in illegal unregistered transactions. Oppenheimer’s actions in this case resulted from




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its well-documented and cited failure to supervise its advisers during this time

period.

             THE ADVISER DEFENDANTS’ INVOLVEMENT IN
             THE HORIZON PRIVATE EQUITY PONZI SCHEME

                                        41.

      The success of Woods’ Ponzi scheme also relied from the outset in 2008 all

the way through the present to the active involvement of the Adviser Defendants.

                                        42.

      Each of the Adviser Defendants were, at all times, registered as Investment

Adviser Representatives with the SEC.

                                        43.

      From 2008-present, each of the Adviser Defendants marketed and sold the

Horizon Private Equity Ponzi scheme to their securities customers.

                                        44.

      The Adviser Defendants knew that the Horizon Private Equity security was

not registered with the SEC.

                                        45.

      The Adviser Defendants took active steps to conceal their involvement in the

Horizon Private Equity Ponzi scheme by failing to disclose their sale of the security

as an outside business activity to the SEC.

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         THE ACCOUNTING DEFENDANTS’ INVOLVEMENT IN
          THE HORIZON PRIVATE EQUITY PONZI SCHEME

                                        46.

      The success of Woods’ Ponzi scheme also relied from the outset in 2008 all

the way through the present to the active involvement of the Accounting Defendants.

                                        47.

      The Accounting Defendants authorized and/or directed that various entities

related to the Horizon Private Equity Ponzi scheme be placed in their names so as to

hide Woods’ involvement. Woods incorporated Horizon Private Equity, LLC as a

Georgia entity on September 20, 2007.         The initial filing lists Woods as the

company’s initial Registered Agent.     Woods was identified as the company’s

Registered Agent in the company’s 2007 and 2008 annual registrations. In 2009,

Woods’ name disappeared from the corporate filings, replaced by Lloyd. In 2014,

Conn was named the Registered Agent and has thus appeared on the company’s

annual registrations from 2014-2020.

                                        48.

      Woods incorporated HPE III -- the second “Horizon Private Equity” entity --

on October 22, 2007, by changing the name of another entity he controlled, VSpeed,

LLC. The company’s first Annual Registration listed Woods and his accountant,

Lloyd, as the Company’s Registered Agents. Woods’ name disappeared from the

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company’s filings thereafter. From 2009 to 2021, the company has listed either

Woods’ accountants, Lloyd and Conn, or his attorney, Mary Galardi, as the

company’s Registered Agent.

                                       49.

      On January 29, 2008, a single SEC Form D was filed by issuer Horizon Private

Equity, LLC for the sale of up to $3,000,000 in membership units. The Form D was

signed by Conn, listing him as “President” of Horizon Private Equity, LLC. The

Form D required the filers to identify each promoter of the issuer, each beneficial

owner, each executive officer and director, and each general and managing partner

of Horizon Private Equity, LLC.      Conn and Lloyd were listed as Horizon’s

“Executive Officers.” This document was publicly available and easily detected

from an internet search of “Horizon Private Equity.”

                                       50.

      The Accounting Defendants provided ongoing services to Woods and/or

Horizon Private Equity on a regular basis from 2008 to the present. A Horizon

Private Equity Private Placement Memorandum (“PPM”) filed in the SEC case

identified Conn as being Horizon’s President/CEO and Lloyd as being Horizon’s

Secretary and Treasurer. It further disclosed that “Kathleen Lloyd, who will be

acting as Secretary and Treasurer for the Company, is employed by John Woods, the


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Advisor to the Company,” and that Conn would be making all investment decisions

for Horizon and would be “entitled to 10% of any cash distributions of the

Company.” The PPM states that Lloyd would be compensated for her services

pursuant to a “management agreement.”

                                        51.

      In a lawsuit filed against Woods during the relevant time period, Lloyd

submitted a sworn affidavit in which she identified herself as a consultant providing

“human resources and accounting services” to various companies controlled by

Woods.

                                        52.

      The Accounting Defendants also assisted Woods and other Southport Capital

employees with the management and operations of the Horizon Private Equity Ponzi

scheme by preparing IRS Form 1099-INTs for Horizon Private Equity investors,

monthly principal and interest reconciliations, monthly distribution of interest

payments, and federal and state tax returns and K-1s for the Horizon Private Equity

Ponzi scheme entities throughout the time-period.




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                                     COUNT I
                                  GEORGIA RICO
                                  (All Defendants)

                                          53.

      Plaintiff incorporates by reference all preceding allegations as if fully set forth

herein.

                                          54.

      This claim for relief arises under O.C.G.A. § 16-14-6 of the Georgia RICO

Act and seeks relief from Defendants’ activities described herein for violations of

O.C.G.A. § 16-14-4 (a), (b).        Plaintiff further seeks relief from Defendants’

conspiring to violate O.C.G.A. § 16-14-4 (a), (b), pursuant to subsection (c) thereof.

                                          55.

      Defendants violated O.C.G.A. § 16-14-4(a) by acquiring or maintaining,

directly or indirectly, an interest in or control of an enterprise and personal property,

including money, through a pattern of racketeering activity.

                                          56.

      Defendants violated O.C.G.A. § 16-14-4(b) by participating in the affairs of

an enterprise through a pattern of racketeering activity.




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                                        57.

      Defendants violated O.C.G.A. § 16-14-4(c) by conspiring to violate O.C.G.A.

§ 16-14-4(a) and O.C.G.A. § 16-14-4 (b). As part of that conspiracy, Defendants

agreed to a common unlawful endeavor and committed overt acts, including but not

limited to acts of racketeering activity, in furtherance of their conspiracy. The

investors were injured by reason of their conspiracy.

                                  The Enterprise

                                        58.

      The Defendants, along with non-parties Woods, Southport Capital, and HPE

III were individuals whose association in fact to obtain investor money for the HPE

III Ponzi scheme constituted an “enterprise” as defined in O.C.G.A. § 16-14-3(3).

                                        59.

      The enterprise was an ongoing association whose members functioned as a

continuing unit for a common purpose of achieving the objectives of the enterprise.

The enterprise engaged in activities primarily in and around Atlanta, Georgia.

                                        60.

      The principal purpose of the enterprise was to enrich Woods and provide

Woods with money for various business purposes, as well as to repay regular interest

payments owed to earlier investors in the Ponzi scheme. The enterprise was also


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designed to avoid detection by regulators and investors so as to keep the enterprise

going and/or avoid liability to the investors. The members of the enterprise carried

out this purpose by using a variety of methods and means, some of which were legal.

Others were illegal or were performed in an illegal fashion. These illegal actions

included but are not limited to racketeering activity as defined in O.C.G.A. § 16-14-

3(5)(A), O.C.G.A. § 16-14-3(5)(B), and O.C.G.A. § 16-14-3(5)(C), and overt acts

in furtherance of the conspiracy to violate O.C.G.A. § 16-14-4(a) and O.C.G.A. §

16-14-4(b).

                                        61.

      The activities of the enterprise included but were not limited to: marketing

and selling interests in HPE III, liquidating and/or selling existing assets to fund

investments in the Horizon Private Equity Ponzi scheme, transferring by mail and

wire money to fund investments in Horizon Private Equity Ponzi scheme, filing false

and misleading reports to securities regulators to hide the existence of the Horizon

Private Equity Ponzi scheme, using mail and wire to transmit investor statements,

and using individuals as “fronts” to hide the members’ involvement in the Horizon

Private Equity Ponzi scheme.




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                                          62.

      The enterprise had differentiation of roles and regular communications. The

members shared common concerns and objectives which were primarily financial in

nature. The enterprise had stability of personnel.

                                 The Predicate Acts

                                          63.

      All of the Defendants, along with Woods, Southport Capital, and HPE III,

engaged in a pattern of racketeering activity as defined in O.C.G.A. § 16-14-4(a),

O.C.G.A. § 16-14-4(b), and O.C.G.A. § 16-14-4(c) by performing at least two acts

of racketeering activity in furtherance of one or more incidents, schemes, or

transactions that have the same or similar intents, results, accomplices, victims, or

methods of commission or otherwise are interrelated by distinguishing

characteristics and are not isolated incidents, and the last of such acts occurred within

four years, excluding any periods of imprisonment, after the commission of a prior

act of racketeering activity.

                                          64.

      These acts of racketeering activity included, but were not necessarily limited

to, the following indictable offenses enumerated in O.C.G.A. § 16-14-3:




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• Securities fraud in violation of the “Georgia Securities Act of 2008.” Woods,
  Jim Woods, Mooney, Wright, Southport Capital, and HPE III committed
  securities fraud by employing, directly or indirectly, a device, scheme, or
  artifice to defraud, or making an untrue statement of material fact in
  connection with selling or offering to sell securities, in violation of O.C.G.A.
  § 10-5-50(a)-(b), by causing the sale of securities to investors based on
  material falsehoods and omissions regarding the nature of the investment, use
  of proceeds and investment returns. A violation of the Georgia Securities Act
  is a predicate act under O.C.G.A. § 16-14-3(5)(A)(iii).

• Securities fraud in violation of the “Georgia Securities Act of 2008.” Woods,
  Jim Woods, Mooney, Wright, Southport Capital, and HPE III also committed
  securities fraud by engaging in an act, practice, or course of business operating
  as a fraud or deceit upon another person in violation of O.C.G.A. § 10-5-50(c),
  by causing the sale of securities to investors based on material falsehoods and
  omissions regarding the nature of the investment, use of proceeds and
  investment returns. A violation of the Georgia Securities Act is a predicate
  act under O.C.G.A. § 16-14-3(5)(A)(iii).

• Securities fraud in violation of the “Georgia Securities Act of 2008.” Woods,
  Jim Woods, Mooney, Wright, Southport Capital, and HPE III also committed
  securities fraud by engaging as an investment advisor in employing a device,
  scheme, or artifice to defraud another person and engaging in an act, practice,
  or course of business that operates or would operate as a fraud or deceit upon
  another person in violation of O.C.G.A. §10-5-51, by causing the sale of
  securities to investors based on material falsehoods and omissions regarding
  the nature of the investment, use of proceeds and investment returns. A
  violation of the Georgia Securities Act is a predicate act under O.C.G.A. § 16-
  14-3(5)(A)(iii).

• Securities fraud in violation of the “Georgia Securities Act of 2008.” Woods,
  Jim Woods, Mooney, Wright, Southport Capital, and HPE III also committed
  securities fraud by employing and/or associating with an individual required
  to be registered under this chapter as an investment adviser representative on
  behalf of the investment adviser in violation of O.C.G.A. § 10-5-32 and
  O.C.G.A. § 10-5-33, by permitting Woods to act as an investment adviser
  representative of Southport Capital from January 2017 through January 2,



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   2019. A violation of the Georgia Securities Act is a predicate act under
   O.C.G.A. § 16-14-3(5)(A)(iii).

• Theft in violation of Article 1 of Chapter 8 of Title 16 of the Georgia Code.
  Woods, Jim Woods, Mooney, Wright, Southport Capital, and HPE III
  committed, at a minimum, theft by deception in violation of O.C.G.A. § 16-
  8-3 by misappropriating and stealing funds invested in HPE III for their
  personal uses and transferring new investor money to pay interest owed to
  existing investors without the knowledge or consent of the investors. Theft is
  a predicate act under O.C.G.A. § 16-14-3(5)(A)(xii).

• Mail fraud in violation of 18 U.S.C. § 1341. Woods, Jim Woods, Mooney,
  Wright, Southport Capital, HPE III, and the Accounting Defendants
  committed mail fraud by causing security investment account statements,
  federal tax filings, and other documents to be sent in the mail to third party
  custodians and taxing authorities all for the purpose of furthering their
  fraudulent scheme to misappropriate investor funds. Mail fraud is a predicate
  act under O.C.G.A. § 16-14-3(5)(C); 18 U.S.C. 1961(1).

• Wire fraud in violation of 18 U.S.C. § 1343. Woods, Jim Woods, Mooney,
  Wright, Southport Capital, HPE III, and the Accounting Defendants
  committed wire fraud by making use of telephone calls and other electronic
  communications, including email, in furtherance of their fraudulent Ponzi
  scheme. Wire fraud is a predicate act under O.C.G.A. § 16-14-3(5)(C); 18
  U.S.C. 1961(1).

• Theft or embezzlement from employee business plan in violation of 18 U.S.C.
  § 664. Woods, Jim Woods, Mooney, Wright, Southport Capital, and HPE III
  committed theft or embezzlement from employee business plans by
  misappropriating and stealing Individual Retirement Account (“IRA”) funds
  invested in HPE III for their personal uses and transferring new investor
  money to pay interest owed to existing investors without the knowledge or
  consent of the investors. Theft or embezzlement from employee business plan
  is a predicate act under O.C.G.A. § 16-14-3(5)(C); 18 U.S.C. § 1961(1).

• Engaging in monetary transactions in property derived from specified
  unlawful activity in violation of 18 U.S.C. § 1957. Woods, Jim Woods,
  Mooney, Wright, Southport Capital, and HPE III engaged in numerous


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   monetary transactions with banks and securities firms using property
   criminally derived from the Horizon Private Equity investors. Engaging in
   monetary transactions in property derived from specified unlawful activity is
   a predicate act under O.C.G.A. § 16-14-3(5)(C); 18 U.S.C. § 1961(1).

• Mail fraud in violation of 18 U.S.C. § 1341. Oppenheimer committed mail
  fraud by causing security investment account statements, federal tax filings,
  and other documents to be sent in the mail to third party custodians and taxing
  authorities all for the purpose of furthering their fraudulent scheme to
  misappropriate investor funds. Mail fraud is a predicate act under O.C.G.A.
  § 16-14-3(5)(C); 18 U.S.C. 1961(1).

• Wire fraud in violation of 18 U.S.C. § 1343. Oppenheimer committed wire
  fraud by making use of telephone calls and other electronic communications,
  including email, in furtherance of the fraudulent Ponzi scheme. Wire fraud is
  a predicate act under O.C.G.A. § 16-14-3(5)(C); 18 U.S.C. 1961(1).

• Engaging in monetary transactions in property derived from specified
  unlawful activity in violation of 18 U.S.C. § 1957. Oppenheimer engaged in
  numerous monetary transactions with banks and securities firms using
  property criminally derived from the Horizon Private Equity investors.
  Engaging in monetary transactions in property derived from specified
  unlawful activity is a predicate act under O.C.G.A. § 16-14-3(5)(C); 18 U.S.C.
  § 1961(1).

• Securities fraud in violation of the “Georgia Securities Act of 2008.” The
  Accounting Defendants committed securities fraud by engaging in an act,
  practice, or course of business operating as a fraud or deceit upon another
  person in violation of O.C.G.A. § 10-5-50(c), by using their names to hide the
  true identity of the promoters of Horizon from the SEC and investors,
  preparing tax and accounting documents and customer statements necessary
  to support the scheme. A violation of the Georgia Securities Act is a predicate
  act under O.C.G.A. § 16-14-3(5)(A)(iii).

• Securities fraud in violation of the “Georgia Securities Act of 2008.” The
  Accounting Defendants also committed securities fraud by engaging as an
  investment advisor in employing a device, scheme, or artifice to defraud
  another person and engaging in an act, practice, or course of business that


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      operates or would operate as a fraud or deceit upon another person in violation
      of O.C.G.A. §10-5-51, by using their names to hide the true identity of the
      promoters of Horizon from the SEC and investors, preparing tax and
      accounting documents and customer statements necessary to support the
      scheme.. A violation of the Georgia Securities Act is a predicate act under
      O.C.G.A. § 16-14-3(5)(A)(iii).

   • Mail fraud in violation of 18 U.S.C. § 1341. The Accounting Defendants
     committed mail fraud by causing security investment account statements,
     federal tax filings, and other documents to be sent in the mail to third party
     Custodians and taxing authorities all for the purpose of furthering their
     fraudulent scheme to misappropriate investor funds. Mail fraud is a predicate
     act under O.C.G.A. § 16-14-3(5)(C); 18 U.S.C. 1961(1).

   • Wire fraud in violation of 18 U.S.C. § 1343. The Accounting Defendants
     committed wire fraud by making use of telephone calls and other electronic
     communications, including email, in furtherance of the fraudulent Ponzi
     scheme. Wire fraud is a predicate act under O.C.G.A. § 16-14-3(5)(C); 18
     U.S.C. 1961(1).

   • Engaging in monetary transactions in property derived from specified
     unlawful activity in violation of 18 U.S.C. § 1957. The Accounting
     Defendants engaged in numerous monetary transactions with banks and
     securities firms using property criminally derived from the Horizon Private
     Equity investors. Engaging in monetary transactions in property derived from
     specified unlawful activity is a predicate act under O.C.G.A. § 16-14-3(5)(C);
     18 U.S.C. § 1961(1).

         Conspiracy to Commit the Violations of Woods, Jim Woods,
                 Mooney, Southport Capital, and HPE III

                                        65.

      The object and purpose of the conspiracy included facilitating the commission

of acts of racketeering activity by its members and committing acts of racketeering

to conceal those that had already occurred.


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                                          66.

      The Defendants, along with Woods, Southport Capital, and HPE III, were

aware of and agreed to the general criminal objectives of their jointly undertaken

scheme. They knowingly and willfully joined in a conspiracy which itself contained

a common plan or purpose to commit two or more predicate acts.

                                          67.

      The purposes of the conspiracy were not accomplished, nor was the

conspiracy abandoned, more than five years prior to the filing of the Complaint.

                                          68.

      The Defendants, Woods, Southport Capital, and HPE III undertook a number

of overt acts in furtherance of the conspiracy, including, but not limited to: marketing

and selling interests in HPE III, liquidating and/or selling existing assets to fund

investments in the Horizon Private Equity Ponzi scheme, transferring by mail and

wire money to fund investments in Horizon Private Equity Ponzi scheme, filing false

and misleading reports to securities regulators to hide the existence of the Horizon

Private Equity Ponzi scheme, using mail and wire to transmit investor statements,

and using individuals as “fronts” to hide the members’ involvement in the Horizon

Private Equity Ponzi scheme.




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                                       69.

      The Defendants’ illegal agreements and overt acts in furtherance of this

conspiracy are in violation of O.C.G.A. § 16-14-4(c).

              Liability of Oppenheimer for the Violations of Woods,
              Jim Woods, Mooney, Southport Capital, and HPE III

                                       70.

      At all times prior to January 2017, Woods was an agent of Oppenheimer by

virtue of his employment as an Executive Director and investment adviser for

Oppenheimer.

                                       71.

      From 2008 through January 2017, Woods raised money for and operated the

Horizon Private Equity Ponzi scheme from Oppenheimer’s Atlanta, Georgia branch

office.

                                       72.

      Oppenheimer’s Atlanta branch manager during the relevant time period,

William Atkinson Lobb, II, was physically located down the hall from Woods and

was charged by law with supervising his activities to ensure Woods was complying

with all securities laws. Lobb and other Oppenheimer management had first-hand,

actual knowledge of Woods’ activities from a multitude of sources including public




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filings and the allegations set forth in the Himmler lawsuit, which attached emails

from Woods’ undisclosed personal email account.

                                          73.

      In addition to Lobb, a host of other Oppenheimer personnel were, or should

have been, aware of the selling away scheme, including the on-site compliance

manager physically present in the Atlanta branch office.

                                          74.

      Oppenheimer is vicariously liable for the criminal acts undertaken by Woods

from 2008-present because Oppenheimer’s executives, managers, and compliance

personnel authorized and/or recklessly tolerated Woods’ acts.

                                   COUNT II
                             Breach of Fiduciary Duty
                               (Adviser Defendants)

                                          75.

      Plaintiff incorporates by reference all preceding allegations as if fully set forth

herein.

                                          76.

      As registered investment advisor representatives with Southport Capital, the

Adviser Defendants owed all Southport Capital customers, including Plaintiff and

the class, fiduciary duties with respect to management of their investments.



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                                          77.

      The Adviser Defendants breached their fiduciary duties to Plaintiff and the

class by, among other things, (1) participating in the sale of an unregistered security;

(2) engaging in an act, practice, or course of business operating as a fraud or deceit

upon another person in violation of O.C.G.A. § 10-5-50(c); and (3) by causing the

sale of securities to investors based on material falsehoods and omissions regarding

the nature of the investment, use of proceeds and investment returns.

                                          78.

      As a proximate cause of these actions, Plaintiff and the class have sustained

damages in an amount to be proven at trial.

                                          79.

      The breaches set forth herein took place on a regular and ongoing basis at all

times from 2008 through the present.

                          COUNT III
CONSPIRACY AND/OR PROCUREMENT OF BREACH OF FIDUCIARY
                             DUTY
      (Defendant Oppenheimer and the Accounting Defendants)

                                          80.

      Plaintiff incorporates by reference all preceding allegations as if fully set forth

herein.




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                                        81.

      Oppenheimer is a sophisticated financial institution with access to world-class

legal and management experience and assistance. Oppenheimer was aware of the

fiduciary duty owed to Woods’ customers and yet it purposefully hid Woods’ and

the Adviser Defendants’ violations of securities related statutes by permitting them

to quietly resign from Oppenheimer and failing to comply with SEC and FINRA

rules requiring Oppenheimer to disclose said violations at the time Woods and the

Adviser Defendants were permitted to resign from Oppenheimer.

                                        82.

      Similarly, the Accounting Defendants were involved in HPE III from its

inception and were aware that Woods and other investment advisers were marketing

and selling HPE III to investors in violation of their fiduciary duties to their

customers.

                                        83.

      As a result of their actions, Oppenheimer and the Accounting Defendants

procured the breach of fiduciary duty committed by Woods, Southport Capital, and

Southport Capital’s other investment adviser representatives that marketed and sold

interests in the Horizon Private Equity Ponzi scheme.




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                                            84.

        Each of the breaches were undertaken willfully and in reckless disregard of

their obligations and duties to the investors.

                                            85.

        As a result of their actions, Oppenheimer and the Accounting Defendants

procured the breach of fiduciary duty committed by Woods and the Adviser

Defendants.

                                            86.

        As a result of its actions, Oppenheimer and the Accounting Defendants

proximately caused damages to Plaintiff and the class in an amount to be determined

at trial.

                                     COUNT IV
                             Negligent Misrepresentation
                                   (Oppenheimer)

                                            87.

        Plaintiff incorporates by reference all preceding allegations as if fully set forth

herein.

                                            88.

        Oppenheimer was required by law to file a “Form U5 Uniform Termination

Notice for Securities Industry Registration” with securities regulators. Oppenheimer



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was required to file the Form U5 as to Woods within thirty (30) days of his

employment end date. In the Form U5, Oppenheimer was required to disclose why

an individual left the firm.

                                         89.

      Oppenheimer was under a continuing obligation to amend and update Woods’

Form U5 to include reportable matters that became known to Oppenheimer after

initial submission of the Form U5.

                                         90.

      Oppenheimer was required to disclose whether Woods was “under internal

review for fraud or wrongful taking of property, or violating investment-related

statutes, regulations, rules or industry standards of conduct.”           Separately,

Oppenheimer was asked whether Woods voluntarily resigned, or was permitted to

resign, after allegations were made that he had violated “investment-related statutes,

regulations, rules or industry standards of conduct?”

                                         91.

      Oppenheimer had actual knowledge that Woods was engaged in a selling

away scheme in violation of “investment-related statutes, regulations, rules or

industry standards of conduct,” but permitted Woods to resign without disclosing

the wrongdoing on the Form U5. Had they done so, the violation would have


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automatically triggered an investigation by FINRA and would have been placed on

Woods’ publicly available “broker check.”

                                        92.

       From January 2017 through the present, Oppenheimer, which had actual

knowledge of the wrongdoing, failed to comply with its duty to amend and update

Woods’ Form U5, which would have publicly disclosed the wrongdoing to

regulators and the public.

                                        93.

       From January 2017 through the present, Southport Capital was required by

law to provide all customers the SEC Form ADV which includes, among other

things, disclosures regarding the advisors employed at Southport Capital. Had

Oppenheimer completed the Form U5 truthfully, its disclosure would have been

included on the Form ADV provided to Plaintiff and the class. Instead, the Form

ADV provided to Southport Capital customers, including Plaintiff and the class,

indicated that Woods had left Oppenheimer on good terms.

                                        94.

       Oppenheimer failed to exercise reasonable care and competence in the

representations made to regulators and the investing public, including Plaintiff and

the class.


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                                         95.

      Oppenheimer owed Plaintiff and the class a duty of reasonable care and

competence in the provision of information to FINRA that was relied upon by

Plaintiff and the class deciding to invest in the Horizon Private Equity Ponzi scheme.

                                         96.

      Oppenheimer breached this duty by failing to exercise reasonable care and

diligence and providing information with respect to Woods’ resignation that was

false, inaccurate, and/or misleading.

                                         97.

      Plaintiff and the class, at the time these representations were made, and at the

time they took the actions alleged herein, were unaware of the falsity, inaccuracy

and/or misleading nature of Oppenheimer’s representations. Plaintiff and the class’s

reliance on the statements was justifiable and reasonable given Oppenheimer’s

reputation and superior knowledge.

                                         98.

      In reliance on these representations, Plaintiff and the class were induced to

incur, and did incur, damages.

                                         99.

      Oppenheimer had the ability at all times to correct their false filing but chose


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not to do so, thus giving the appearance to the investing public at all times from

2016-present that Woods resigned from its firm whilst in good standing. Thus, the

negligent misrepresentations were publicly stated and reiterated on a regular and

ongoing basis at all times from December 2016 to the present.

                                         100.

      As a proximate result of Oppenheimer’s negligent misrepresentations as

herein alleged, Plaintiff and the class have incurred damages.

                                    COUNT V
                            Aiding and Abetting Fraud
                                 (All Defendants)

                                         101.

      Plaintiff incorporates by reference all preceding allegations as if fully set forth

herein.

                                         102.

      Oppenheimer knew or should have known that fraud and wrongful acts and

omissions like that committed by Woods and his related parties was possible absent

appropriate monitoring, supervision, rules, and safeguards but purposefully failed to

engage in monitoring or supervising or to adopt such rules or safeguards.




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                                          103.

      Oppenheimer, after discovering the Ponzi scheme, intentionally filed false

statements with regulators so as to shield Woods from being discovered because it

knew that it was liable for him engaging in a Ponzi scheme from their office and

they wished to avoid financial liability for his acts.

                                          104.

      Oppenheimer thereby substantially assisted in the fraud by deliberately

turning a blind eye to illegal conduct and/or intentionally covering up the illegal

conduct.

                                          105.

      The conduct of Oppenheimer directly and proximately caused damages to all

investors who invested in the Horizon Private Equity Ponzi scheme from 2008 to

present.

                                          106.

      Likewise, the Accounting Defendants knew or should have known that fraud

and wrongful acts and omissions were being committed by Woods and his related

parties due to their access to financial records, legal documents and active

participation in his web of related corporate entities Woods utilized to carry out his

illegal scheme.


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                                         107.

      The Accounting Defendants failed to take any action to notify investors or

regulators that Woods was engaged in an illegal Ponzi scheme.

                                         108.

      The Accounting Defendants thereby substantially assisted in the fraud by

deliberately turning a blind eye to illegal conduct and/or intentionally covering up

the illegal conduct.

                                         109.

      The conduct of the Accounting Defendants directly and proximately caused

damages to all investors who invested in the Horizon Private Equity Ponzi scheme

from 2008 to present.

                                     COUNT VI
                              UNJUST ENRICHMENT
                       (The Adviser and Accounting Defendants)

                                         110.

      Plaintiff incorporates by reference all preceding allegations as if fully set forth

herein.

                                         111.

      As a result of the various breaches alleged herein, Plaintiff and the class

suffered damages. The Adviser and Accounting Defendants were unjustly enriched



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by the receipt of ongoing fees from Horizon investor money for which they were not

entitled due to the acts set forth herein.

                                             112.

      The Adviser and Accounting Defendants should in all interests of fairness be

required to disgorge all compensation earned and monies taken from Horizon Private

Equity from its inception through the present.

                                   COUNT VII
                               PUNITIVE DAMAGES
                                 (All Defendants)

                                             113.

      Plaintiff incorporates by reference all preceding allegations as if fully set forth

herein.

                                             114.

      Defendants engaged in willful misconduct, acted with malice, and have

engaged in fraud, wantonness, oppression, or that entire want of care which would

raise the presumption of conscious indifference to consequences.

                                             115.

      Defendants acted with specific intent to cause harm to the investors.

                                             116.

      In light of the allegations set forth herein, Plaintiff and the class are entitled



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to punitive damages.

                                   COUNT VIII
                                ATTORNEYS’ FEES
                                  (All Defendants)

                                          117.

      Plaintiff incorporates by reference all preceding allegations as if fully set forth

herein.

                                          118.

      Defendants have acted in bad faith, have been stubbornly litigious and have

caused Plaintiffs unnecessary trouble and expense.

                                          119.

      Pursuant to O.C.G.A. § 9-5-14 and Titles 10 and 16 of the Georgia Code,

Plaintiffs are entitled to recover from Defendants their expenses of litigation,

including but not limited to, attorneys’ fees.

                               PRAYER FOR RELIEF

      Plaintiff respectfully asks that this Court:

      (a)     Enter an order certifying this action as a class action pursuant to Fed.

              R. Civ. P. 23;

      (b)     Conduct a jury trial of all claims and issues as to which there is a right

              to jury trial;



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(c)   Enter judgment awarding damages to Plaintiff and the class in an

      amount to be determined at trial;

(d)   Award Plaintiff the costs of this suit, including reasonable attorneys’

      fees; and

(e)   Such other and further relief as the Court deems proper and just.



Plaintiff hereby demands a trial by jury.



Respectfully submitted this 31st day of August, 2021.


                         THE LAW OFFICE OF CRAIG KUGLAR, LLC


                         /s/ Craig H. Kuglar
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                    LOCAL RULE 7.1D CERTIFICATION

      This is to certify that the foregoing pleading complies with the font and

margin specifications set forth in Local Rule 5.1B. The font used is Times New

Roman, 14 point.

                                              /s/ Craig H. Kuglar




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